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January 8, 2021

Via ECF and E-mail
                                                                                         Jonathan A. Shapiro
                                                                                         TEL: 4152916204
Honorable Victor Marrero                                                                 FAX: 4152916304
Unites States District Judge, Southern District of New York                              jonathan.shapiro@bakerbotts.com

         Re:      Tecku, et al. v. YieldStreet, Inc., et al., No. 1:20-cv-07327 (VM)

Dear Judge Marrero:

        Pursuant to the Court’s Individual Rules of Practice, we write to report that the parties have
been unable to resolve their dispute regarding Defendants’ contemplated motion to dismiss, and
that such a motion remains warranted.1 Plaintiffs assert claims for which they have no standing,
under a Delaware statute that does not even apply to their securities purchases, and under a
fiduciary duty theory that fails as a matter of law because our client owed no such duty. Although
Plaintiffs indicated they may attempt to cure some of these deficiencies by amending their pleading
if they are required to do so by the Court, they have declined to take advantage of the opportunity
to replead on their own. Regardless, it is not clear how any future amendment could confer the
Article III standing that Plaintiffs lack, much less address the several alternative grounds apparent
on the face of the Complaint that also require dismissal.

        Plaintiffs lack Article III standing. Plaintiffs’ claims are at best premature: the
ALTNOTES-issued notes in which they invested are not in default, and Plaintiffs have suffered
no compensable injury. The Second Circuit has recognized that an investor in a debt offering who
has suffered no out-of-pocket loss—and here there is no amount overdue to Plaintiffs, and the
SPVs that hold the underlying debt continue active collection—has no compensable damages
under § 12(2) of the Securities Act of 1933 (on which DSA § 73-605 is based). Commercial Union
Assur. Co., plc v. Milken, 17 F.3d 608, 615 (2d Cir. 1994); see also In re AOL Time Warner, Inc.
Sec. and “ERISA” Litig., 381 F. Supp. 2d 192, 245–46 (plaintiffs raising Securities Act claims
under §§ 11 and 12 alleged no “injury in fact” sufficient to support Article III standing where the
bonds were trading above the offering price). Plaintiffs’ argument focusing on the alleged
wrongdoing misses the point; they cannot file a lawsuit based on a supposition that, in the future,
part of their investment may be written down. The signed and controlling offering documents
pursuant to which Plaintiffs have invested in this debt are clear that there is no promised maturity
date, but rather only an “expected” maturity date, and distributions to investors may occur later.
Plaintiffs have not suffered any loss under the plain terms of their investments.2

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          On November 20, 2020, Defendants identified multiple fatal deficiencies in the Complaint, notifying
Plaintiffs of their intent to seek dismissal under Rules 12(b)(1) and 12(b)(6). Ex. A. Plaintiffs responded on December
11 (Ex. B), and the parties have since met and conferred.
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         Consistent with Rule 12(b)(1) Defendants would support their Article III argument with evidence
demonstrating that each of the funds for which Plaintiffs prematurely allege harm are, in fact, active pending
investments. For example, even since Plaintiffs sued in September of last year, some of the SPVs in which Plaintiffs
invested have already fully recovered the amounts due from the borrowers, and other SPVs have just won a $77M
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        The Delaware Securities Act does not govern Plaintiffs’ investments. Plaintiffs recognize
that the DSA applies only if there is a meaningful nexus between Delaware and the transaction at
issue—a nexus they do not plead by relying entirely on an Indenture Agreement that bears no
apparent relationship to this case. As stated in Defendants’ November 20 letter (and not disputed
by Plaintiffs), none of Plaintiffs’ claims arise from that Indenture Agreement. See Ex. A at 2 n.2.
Nor do they claim that there is anything improper about the indenture or that it harmed them in
any way. Acknowledging the weakness in their position, Plaintiffs now suggest that, in the future,
they may seek to rectify their pleading failure by amending to drop the inapplicable Delaware
claims and instead assert “other applicable common law and state securities claims as appropriate
based on Plaintiffs’ and class members states of domicile.” That odd threat—to start fresh in this
Court by bringing new individual claims under the laws of the named Plaintiffs’ four home states,
and a putative class action based on the laws of potentially dozens of additional states—is not a
basis to oppose dismissal of the pending Complaint.

        Plaintiffs’ § 73-605(a) claims against Yieldstreet Inc. and Yieldstreet Management fail
because the documents referenced in the Complaint show neither entity offered or sold the
securities. Plaintiffs have no answer to the documents they reference in the Complaint that
establish that neither YieldStreet Inc. nor YieldStreet Management “offered or sold” any securities.
Instead, they simply conclude—without citation to any legal authority or to any factual
allegation—that those entities’ marketing activities somehow give rise to liability under § 73-
605(a). Plaintiffs do no better by suggesting that a “control person” claim under § 73-605(b) may
be appropriate; there is no such claim against those entities in the Complaint.

        Plaintiffs do not plead facts supporting that Yieldstreet Management owed them any
fiduciary duty. Plaintiffs cannot avoid dismissal of their fiduciary duty claim against YieldStreet
Management (the only Defendant against which that claim is asserted) based on their counsel’s
professed “belie[f]” that this entity owes a fiduciary duty. Plaintiffs do not dispute that this
supposed “belief” is flatly contradicted by the offering documents referenced in their Complaint,
which they received and signed acknowledging that YieldStreet Management was not their
fiduciary.3 Plaintiffs also disregard entirely the well-settled case law that “[t]he adviser owes
fiduciary duties only to the fund, not the fund’s investors.” Goldstein v. SEC, 451 F.3d 873, 881
(D.C. Cir. 2006).

        Plaintiffs plead nothing about most of the investments they claim were improper.
Plaintiffs seemingly concede that their substantive allegations are deficient—their response letter
does not dispute that the Complaint contains no factual allegations whatsoever about the majority
of offerings for which they purport to bring a claim. As for the two offering categories about

Final Judgment against the underlying borrowers from the High Court in the United Kingdom—all demonstrating the
speculative nature of potential future “harm” that is not today justiciable under Article III..
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         Counsel contends that Plaintiffs’ belief about fiduciaries came from statements on the YieldStreet.com
website, in particular, from supposed “advice . . . communicated using superlatives like ‘Why We Like This
Opportunity.’” Ex. B at 3. Putting aside that the signed offering documents control the offering, there also are no
such allegations in the Complaint about website-based fiduciary relationships, nor is the entity YieldStreet
Management even referenced in the never-alleged website soundbite in counsel’s letter.
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which Plaintiffs do raise factual allegations—involving a series of marine finance loans to a single
borrower, and a single oil and gas loan to a borrower that went bankrupt—Plaintiffs likewise
nowhere identify any allegation supporting the requisite material misrepresentation or omission at
the time of those offerings.4

        Plaintiffs lack “class standing” to state claims regarding offerings in which they did not
invest. Plaintiffs do not have class standing to assert claims related to an unidentified number of
other offerings involving different SPVs in which Plaintiffs never invested. That ALTNOTES I
and ALTNOTES II issued their securities pursuant to two private placement memoranda does not
confer class Plaintiffs with standing to assert claims related to every offering either entity made.
The inquiry does not turn on whether the allegedly misleading statements are in the same or
separate documents, but rather whether the conduct that allegedly caused Plaintiffs’ injury
implicates the “same set of concerns” as the conduct alleged to have caused injury to others—
essentially that the same conduct caused everyone’s alleged loss, such that Plaintiffs’ “quest to
show [Defendants’] wrongdoing with respect to their own claims [will] encompass proving claims
related to . . . [the] other” offerings as well. Ret. Fund of the Policeman’s Ann. and Ben. Fund,
775 F.3d 154, 163 (2d Cir. 2014) (citing NECA-IBEW Health & Welfare Fund v. Goldman Sachs
& Co., 693 F.3d 145 (2d Cir. 2012)). NECA illustrates why Plaintiffs have no class standing.
There, the plaintiffs alleged that underwriting guidelines included in a shelf registration statement
(common to all offerings) and in certain prospectus supplements (unique to each offering) were
misleading because the originators backing those offerings failed to follow the stated guidelines.
693 F.3d at 150–151. The Second Circuit held the plaintiffs had class standing to raise a claim for
offerings backed by the same originator because the proof required to establish whether the
originator had abandoned its guidelines would be the same for all offerings the originator had
backed. Id. at 164–65. But plaintiffs did not have class standing as to offerings from other
originators because whether their guidelines were followed turned on different proof. Id. Here,
though certain of the alleged misrepresentations arise from common private placement
memoranda, the funds that Plaintiffs did not invest in involved different originators, borrowers,
and investment products in different industries, and will necessarily require different proof. For
example, proof regarding the diligence performed in connection with marine funds would be
wholly separate from proof regarding the diligence performed with respect to any fine art fund,
real estate fund, litigation finance fund, or other fund that is not the subject of Plaintiffs’ individual
claims. See Ret. Fund, 775 F.3d at 163 (affirming dismissal, holding that plaintiffs lacked class
standing because “the nature of the claims in this case unavoidably generates significant
differences in the proof that will be offered for each trust”).

                                                    Respectfully,
                                                    /s/ Jonathan A. Shapiro
                                                    Jonathan A. Shapiro
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        To the extent that the factual background provided at the beginning of Plaintiffs’ December 11 response is
intended to serve as a rebuttal, it points to no pleaded fact in the Complaint from which the Court might find the
missing allegations of wrongdoing. For example, one of Plaintiffs’ central allegations is that YieldStreet
misrepresented that its affiliated funds had suffered no principal loss, but neither the Complaint nor Plaintiffs’
December 11 letter provide an explanation as to how the purportedly misleading statement was false when made.
